            Case 2:07-cr-00036-MCE Document 61 Filed 01/25/08 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    NED SMOCK, Bar # 236238
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JEREMIAH URCH
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   No. 2:07-cr-00036-MCE
                                         )
12                    Plaintiff,         )
                                         )   STIPULATION AND ORDER
13         v.                            )
                                         )
14   ANDREA WEATHINGTON; and             )
     JEREMIAH URCH,                      )   Date: February 21, 2008
15                                       )   Time: 9:00 A.M.
                                         )   Judge: Hon. Morrison C. England
16                                       )
                    Defendants.
17   _______________________________
18
19         IT IS HEREBY STIPULATED by and between the parties hereto through
20   their respective counsel, ROBIN TAYLOR, Assistant United States
21   Attorney, attorney for Plaintiff; ROBERT HOLLEY, attorney for defendant
22   Andrea Weathington; and NED SMOCK, Assistant Federal Defender, attorney
23   for defendant Jeremiah Urch, that the current Status Conference date of
24   January 24, 2008 be vacated and a new date of February 21, 2008 be set
25   for status/change of plea.      The defendants are performing ongoing
26   investigation.    In addition, counsel for Ms. Weathington has been ill
27   and will be having an operation in early February.
28   ///
              Case 2:07-cr-00036-MCE Document 61 Filed 01/25/08 Page 2 of 2


1         It is further stipulated and agreed between the parties that the
2    period between January 24, 2007 and February 21, 2008, should be
3    excluded in computing the time within which the trial of the above
4    criminal prosecution must commence for purposes of the Speedy Trial Act
5    for defense preparation.       All parties stipulate and agree that this is
6    an appropriate exclusion of time within the meaning of Title 18, United
7    States Code, Section 3161(h)(8)(iv) (Local Code T4).
8    Dated: January 22, 2008
                                               Respectfully submitted,
9
                                               DANIEL J. BRODERICK
10                                             Federal Defender
11                                                  /s/ Ned Smock
                                               NED SMOCK
12                                             Assistant Federal Defender
                                               Attorney for Defendant
13                                             JEREMIAH URCH
14   Dated:    January 22, 2008                /s/ Ned Smock for Robert Holley
                                               ROBERT HOLLEY
15                                             Attorney for Defendant
                                               ANDREA WEATHINGTON
16
                                               MCGREGOR W. SCOTT
17                                             United States Attorney
18   Dated:    January 22, 2008
                                               /s/ Ned Smock for Robin Taylor
19                                             ROBIN TAYLOR
                                               Assistant U.S. Attorney
20
21                                           ORDER
22   IT IS SO ORDERED.
23
     Dated: January 25, 2008
24
25                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
26
                                             UNITED STATES DISTRICT JUDGE
27
28


                                              2
